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              IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
CITIZENS INSURANCE               )
COMPANY OF AMERICA, et al., )
                                 )
      Plaintiffs,                )
                                 )
and                              ) CIVIL ACTION FILE
                                 )
WESTFIELD INSURANCE              ) NO. 1:19-CV-05292-MHC
COMPANY,                         )
                                 )
     Plaintiff-Intervenor,       )
v.                               )
                                 )
BANYAN TREE MANAGEMENT, )
LLC; ALBANY DOWNTOWN             )
HOTEL PARTNERS, LLC; and         )
JANE DOE,                        )
                                 )
     Defendants.                 )
                                 )
BANYAN TREE                      )
MANAGEMENT, LLC and              )
ALBANY DOWNTOWN                  )
HOTEL PARTNERS, LLC,             )
                                 )
     Third-Party Plaintiffs,     )
                                 )
v.                               )
                                 )
STARR INDEMNITY &                )
LIABILITY COMPANY,               )
                                 )
     Third-Party Defendant.      )
                                 )
                                 )
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STARR INDEMNITY &                      )
LIABILITY COMPANY,                     )
    Third Party Counterclaim           )
    and Crossclaim Plaintiff,          )
                                       )
v.                                     )
                                       )
BANYAN TREE MANAGEMENT                 )
LLC and ALBANY DOWNTOWN                )
HOTEL PARTNERS, LLC,                   )
                                       )
       Third-Party Counterclaim        )
       Defendants,                     )
                                       )
     and                               )
                                       )
JANE DOE; CITIZENS                     )
INSURANCE COMPANY OF                   )
AMERICA; and                           )
MASSACHUSETTS BAY                      )
INSURANCE COMPANY,                     )
                                       )
       Crossclaim Defendants.          )


 DEFENDANTS BANYAN TREE MANAGEMENT, LLC AND ALBANY
DOWNTOWN HOTEL PARTNERS, LLC’S STATEMENT OF MATERIAL
                       FACTS

      1.    Plaintiffs Citizens Insurance Company and Massachusetts Bay

Insurance Company (collectively “Hanover”) provided successive commercial

general liability insurance policies (the “Hanover Policies”) to Albany in which

Banyan is an additional insured. (Hanover Am. Compl. ¶¶ 14, 17, Doc. 50).



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       2.    The policy periods for the Hanover Policies ran from April 21, 2015, to

April 21, 2017. (Hanover Policies at 786).

       3.    Plaintiff-Intervenor Westfield Insurance Company (“Westfield”)

issued successive CGL policies to Banyan (the “Westfield Policies”). (Westfield

Compl. ¶ 22, Doc. 25).

       4.    The policy periods for the Westfield Policies ran from August 30, 2014,

to August 30, 2016, when the Westfield Policy was cancelled. (Westfield Compl. ¶

22).

       5.    Third-Party Defendant Starr Indemnity & Liability Company (“Starr”)

issued a CGL policy to Banyan for the period July 31, 2018, to July 31, 2019, in

which Albany is an additional insured. (Starr Countercl. ¶¶ 26–28, Doc. 67).

       6.    In 2019, Jane Doe filed a complaint in Gwinnett County State Court

(the “Doe Complaint” Civil Action No. 19-C-04673-S3) against Albany, Banyan,

and John Doe. (Doe Compl., Doc. 1-1).

       7.    Jane Doe alleges that in 2015 she was staying at the Hampton Inn-

Albany owned by Albany and managed by Banyan. (Doe Compl. ¶¶ 9, 34–35).

       8.    During that stay, Ms. Doe claims she was recorded fully nude without

her consent by a hidden camera located in the shower. (Doe Compl. ¶ 10).




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      9.    The Doe Complaint alleges Ms. Doe became aware of such recording

on September 30, 2018, when she received an email with a link to a pornographic

website containing the video, but is silent as to when the video was first posted to

the website or on the internet. (Doe Compl. ¶ 11).

      10.   That link contained a publicly available version of the video containing

Ms. Doe’s fully nude image under the title “[Jane Doe] Bathroom Voyeur Cam – 2.”

(Doe Compl. ¶ 11).

      11.   During October 2018, Ms. Doe received a series of emails from the

same sender requesting additional videos to prevent further posting of the video.

(See Doe Compl. ¶¶ 14–20).

      12.   On October 11, 2018, the video was posted to four more pornographic

websites. (Doe Compl. ¶ 21).

      13.   Ms. Doe alleges that the video was posted to at least thirteen different

pornographic websites. (Doe Compl. ¶ 29).

      14.   Finally, the Doe Complaint alleges that the same perpetrator sent a link

to the video on vimeo.com to Ms. Doe’s family and friends under the guise of an

“Art Project” using a fake email address set up in her name. (Doe Compl. ¶ 25).

      15.   Ms. Doe’s discovery responses stated that she does not have sufficient

information to admit or deny whether her naked image linked with her name was


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publicly available prior to the publication of the video that she became aware of on

September 30, 2018. (Doe Resp. to Starr’s RFAs at 18).

       16.   The Doe Complaint alleges that John Doe was an employee of Albany

and/or Banyan and at “all material times referred to in this Complaint, John Doe was

conducting himself in the normal course of business acting within the scope of his

employment.” (Doe Compl. ¶¶ 8, 45).

       17.   The Doe Complaint states that John Doe knew Plaintiff’s room number,

full name, email address based on the information she provided at check-in. (Doe

Compl. ¶ 41).

       18.   The Doe Complaint further alleges that “[t]o have access to personal

information (full name, email address, etc.) the individual performing the

unauthorized recording would have to be an employee of the hotel or someone with

direct access to the rooms.” (Doe Compl. ¶ 43).

       19.   The Doe Complaint asserts claims of ordinary negligence, premises

liability, and vicarious liability against Albany and Banyan. (Doe Compl. ¶¶ 47–

67).

       20.   The Doe Complaint asserts negligence claims against John Doe. (Doe

Compl. ¶¶ 68-73).




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      21.   The Doe Complaint makes numerous allegations of ordinary

negligence directly against Albany and Banyan, including failing to provide a safe

premises, failing to perform adequate inspections, failing to identify a hazardous

situation in the hotel bathroom, and failing to protect its customers personal

information and enforce privacy policies. (Doe Compl. ¶¶ 53, 58).

      22.   The Doe Complaint asserts premises liability claims against Banyan

and against Albany pursuant to O.C.G.A. § 51-3-1. (Doe Compl. ¶¶ 61–67).

      23.   Banyan and Albany are alleged to have actual or constructive

knowledge that a defect existed on their property in the form of a camera in Ms.

Doe’s hotel bathroom. (Doe Compl. ¶¶ 63, 65).

      24.   The ordinary negligence and premises liability claims alleged against

Albany and Banyan are alleged to be the proximate cause of Ms. Doe’s damages.

(Doe Compl. ¶¶ 55, 60, 67).

      25.   Ms. Doe testified at her deposition that she did not know whether any

statutes had been violated or would have been violated by John Doe from his conduct

alleged in the Doe Complaint. (Doe Dep. at 52).

      26.   The Doe Complaint alleges Ms. Doe sustained “physical injury,” such

as “significant gastrointestinal issues” and over thirty pounds of weight loss. (Doe

Compl. ¶¶ 46, 55, 60, 67).


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      27.    Jane Doe’s discovery responses denied that her injuries included only

mental anguish followed by gastrointestinal issues and weight loss. (Doe Resp. to

Starr’s RFAs at 21–22).

      28.    During her deposition, Ms. Doe testified that her physical injuries also

include “severe skin issues,” excessive grinding and shattering of her teeth leading

to a “permanent recurrent TM[J] issue”, and the fact that “pretty much my entire

body started to fall apart and collapse.” (Doe Dep. at 43, 48).

      29.    Ms. Doe seeks to recover damages from Banyan and Albany for “past

and future physical pain and suffering; past and future mental anguish; past and

future medical expenses;” and other types of damages recognized under the law.

(Doe Compl. ¶ 80).

      30.    Ms. Doe’s discovery responses denied that her injuries did not include

physical injury to or loss of use of tangible property, not including electronic data.

(Doe Resp. to Starr’s RFAs at 22).

      31.    Albany and Banyan have denied liability for the injuries alleged in the

Doe Complaint.

      32.    The Gwinnett County suit filed by Jane Doe is still pending and is

currently in the discovery phase of the litigation.




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      33.    Currently, Starr is providing a defense to Albany and Banyan subject

to a reservation of rights. (Starr Countercl. ¶ 46).

      34.    Hanover is providing a defense to Albany and Banyan subject to a

reservation of rights. (Hanover Am. Compl. ¶ 3).

      35.    Westfield has tendered the defense of Banyan to Hanover because

Banyan is an additional insured on the Hanover Policies but has agreed to participate

in Banyan’s defense subject to a reservation of rights. (Westfield Compl. ¶ 4).

      Respectfully submitted this 23rd day of September, 2021.

                                  /s/Derek Schwahn
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                       Attorneys for Defendants Banyan Tree
                       Management, LLC and Albany Downtown
                       Hotel Partners, LLC




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system and service will be perfected upon the following

this 23rd day of September, 2021:

Mr. Joel S. Isenberg                          Mr. Charles L. Clay, Jr.
Ms. Susan H. McCurry                          PRATT CLAY LLC
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                                              /s/Derek Schwahn
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